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                             EXHIBIT B
          to Statement of Supplemental Authority
Case 2:20-cv-01886-WJM-MF Document 24-3 Filed 08/04/20 Page 2 of 18 PageID: 265




 FRANCIS J. DeVITO, P.A.
 250 Moonachie Road, Suite 305
 Moonachie, NJ 07074
 (201) 487-7575
 Attorney for Plaintiff
 I.D.#244461968
 -----------------------------------------------x   SUPERIOR COURT OF NEW JERSEY
                                                    LAW DIVISION – BERGEN COUNTY
 THOMAS R. PETERSON, M.D., P.C.,                    DOCKET NO.: BER-518-18

         PLAINTIFF,

 V.CIVIL ACTION

 CIGNA HEALTH AND LIFE
 INSURANCE d/b/a CIGNA HEALTH
 CARE, WINE LIQUOR AND                                               CIVIL ACTION
 DISTILLERY WORKERS LOCAL 1-D,
 MAJOR MEDICAL PLAN, MAGNA
 CARE, OLGA MENDOZA, NATIONAL
 LABOR BENEFITS,                                                 NOTICE OF MOTION

                  DEFENDANTS.

 -----------------------------------------------x
 (All Counsel)

 COUNSELORS:

         PLEASE TAKE NOTICE that on Friday, June 19, 2020, at 9:00 o’clock in the forenoon
 or as soon thereafter as counsel may be heard, the undersigned attorney for Plaintiff, Thomas R.
 Peterson, M.D., will make application to the Superior Court of New Jersey, Law Division, Bergen
 County Justice Center, 10 Main Street, Hackensack, New Jersey for an Order to compel Zelis a/k/a
 PHX to supply discovery as requested in the Subpoena Ad Testificandum.
         Pursuant to R. 1:6-2, the moving party shall rely upon the attached Certification and Brief
 in support of this motion. A proposed form of Order is enclosed. The moving party hereby waives
 oral argument and consents to a disposition of this Motion on the papers unless otherwise
 requested.     There are no arbitration, pretrial or trial dates scheduled in the within matter.
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        I hereby certify that the original of the within Motion has been filed via e courts and that
 copies have been forwarded via email to all counsel.

                                              FRANCIS J. DeVITO, P.A.
                                              Attorneys for Plaintiff, Thomas R. Peterson, M.D.

                                                        Francis J. DeVito
                                              By: _____________________________
                                                    Francis J. DeVito

 Dated: June 3, 2020
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 Attorney for Plaintiff
 I.D.#244461968
 -----------------------------------------------x   SUPERIOR COURT OF NEW JERSEY
                                                    LAW DIVISION – BERGEN COUNTY
 THOMAS R. PETERSON, M.D., P.C.,                    DOCKET NO.: BER-518-18

         PLAINTIFF,

 V.CIVIL ACTION

 CIGNA HEALTH AND LIFE
 INSURANCE d/b/a CIGNA HEALTH                                   CIVIL ACTION
 CARE, WINE LIQUOR AND
 DISTILLERY WORKERS LOCAL 1-D,                                 CERTIFICATION
 MAJOR MEDICAL PLAN, MAGNA                                     OF FRANCIS J. DeVITO, ESQ.
 CARE, OLGA MENDOZA, NATIONAL
 LABOR BENEFITS,

          DEFENDANTS.
 -----------------------------------------------x


         Francis J. DeVito, Esq., of full age, hereby certifies as follows:

         1.       I am an attorney at law licensed to practice in the State of New Jersey. I am
         associated with the law firm of Francis J. DeVito, P.A. counsel for Plaintiff, Dr. Thomas
         Peterson in this matter. I am fully familiar with the facts of this case and make this
         Certification in support of Plaintiffs Motion to Extend the Discovery deadline.
         2.       Suit in this matter was instituted on or about January 2018 by the Plaintiff.
         3.       The matter was thereafter removed to Federal Court by one of the Defendants.
         4.       On July 25, 2018, the Federal Court remanded the matter back to the Superior
         Court, Law Division.
         5.       On October 23, 2018, based upon a motion by one of the defendants, Zelis Claims
         Integrity Inc. (f/k/a Premiere health Exchange Inc. and formerly d/b/a “Zelis”), the Court
         dismissed the matter against Zelis.
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        6.      Plaintiff’s then, on November 13, 2018, substituted in Francis J. DeVito, Esq. for
        Plaintiff’s prior counsel.
        7.      After the dismissal, Zelis and Plaintiff entered into settlement discussions which
        culminated in an agreement, copy attached hereto as Exhibit A, wherein Plaintiff agreed
        not to reinstate his claim against Zelis and in return Zelis agreed to fully cooperate with
        Plaintiff regarding discovery.
        8.      Recently, Plaintiffs’ counsel served a Deposition Notice to the counsel for Zelis,
        Mr. Horn. See Exhibit B.
        9.      The response by Zelis counsel was to object to the production of certain documents
        and to object to testimony from Zelis witnesses.
        10.     Counsel for the respective parties conferred on May 28, 2020 to discuss the matter.
        Counsel for Zelis continued to disagree with Plaintiffs’ counsel regarding the issue at hand
        and forwarded a written communication dated May 28, 2020 outlining his objections, a
        copy of which is attached hereto as Exhibit C.
                I hereby certify that the foregoing statements made by me are true. I am aware that

        if any of the statements made by me are willfully false, I am subject to punishment.

                                                      FRANCIS J. DeVITO, P.A.

                                                      By: Francis J. DeVito
                                                            Francis J. DeVito

 Dated: June 3, 2020
Case 2:20-cv-01886-WJM-MF Document 24-3 Filed 08/04/20 Page 6 of 18 PageID: 269

                                Francis J. DeVito, P.A.
                                      A Professional Corporation
                                         Counsellors at Law
                                  250 Moonachie Road, Suite 305
                                     Moonachie, NJ 07074
 FRANCIS J. DEVITO*                   ( 201) 487-7575
 FRANK RIVELLINI                   Fax (201) 487-1646
 *N.J. & N.Y. BARS

                                                 June 3, 2020

 Honorable Walter F. Skrod
 Bergen County Courthouse
 10 Main Street
 Hackensack, New Jersey 07601

       Re:       Thomas R. Peterson, M.D. v. Cigna Health, et al.
                 Docket No.: BER-L-518-18

 Dear Judge Skrod:

           Please accept this letter brief in support of plaintiff’s motion to compel testimony and
 documents from Zelis Inc. In the above entitled matter.

                                    PROCEDURAL AND FACTUAL STATEMENT

           Zelis is a healthcare and financial technology company and a provider of claims cost
 management and payments to price, pay and explain health care claims. In the matter before this
 court, Zelis was under contract with Defendant Wine Liquor and Distillery Workers Local 1-D
 (hereinafter “Union”) to provide its services to the union. As it relates to this matter, Zelis assisted
 in pricing Plaintiffs claim to the Union. It also was instrumental in negotiating a settlement between
 the Union and Plaintiff. The settlement agreement was reduced to writing but never executed by
 the Union. Sometime thereafter Zelis ceased performing any duties for the Union.

           Written discovery in this matter has been over for quite some time. The parties have
 engaged in limited deposition discovery. As stated in Mr. DeVito’s certification a Notice to Take the
 Deposition of a Zelis employee was served upon counsel for Zelis. The response to that deposition
 notice from counsel for Zelis is attached to the DeVito Certification as Ex. A.

           A conference call between counsel was had with Zelis counsel continuing to maintain his
 position, all as set forth in his correspondence dated May 28, 2020. See Ex. B of DeVito certification.

                                                     POINT I
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              THE SETTLEMENT AGREEMENT BETWEEN THE PARTIES MANDATES THAT THE
           REQUESTED MATERIAL AND TESTIMONY OF ZELIS EMPLOYEES BE PERMITTED

 Our Supreme Court directs:

  "Generally, a settlement agreement is governed by principles of contract law." Thompson v. City
  of Atlantic City, 190 N.J. 359, 379 (2007). Fundamental to our jurisprudence relating to settlements
  is the principle that "[t]he settlement of litigation ranks high in our public policy." Jannarone v. W.T.
  Co., 65 N.J. Super. 472, 476 (App. Div. [1961]), certif. denied [sub nom. Jannarone v. Calamoneri],35
  N.J. 61 (1961); see Pascarella v. Bruck, 190 N.J. Super. 118, 125 (App.Div. [1983]) (quoting
  Jannarone, supra, 65 N.J. Super. at 476), certif. denied, 94 N.J. 600 (1983).

  Our strong policy of enforcing settlements is based upon "the notion that the parties to a dispute
  are in the best position to determine how to resolve a contested matter in a way which is least
  disadvantageous to everyone." Peskin v. Peskin, 271 N.J. Super. 261, 275 (App. Div. [1994]) (quoting
  Department of the Public Advocate v. New Jersey Board of Public Utilities, 206 N.J. Super. 523, 528
  (App. Div. 1985)), certif. denied, 137 N.J. 165 (1994). In furtherance of this policy, our courts "strain
  to give effect to the terms of a settlement wherever possible." Dep't of Pub. Advocate, supra, 206
  N.J. Super. at 528. As we have held, settlements will usually be honored "absent compelling
  circumstances." Nolan v. Lee Ho, 120 N.J. 465, 472 (1990). "An agreement to settle a lawsuit is a
  contract, which like all contracts, may be freely entered into and which a court, absent a
  demonstration of 'fraud or other compelling circumstances,' should honor and enforce as it does
  other contracts." Pascarella, supra, 190 N.J. Super. at 124-25 (quoting Honeywell v. Bubb, 130 N.J.
  Super. 130, 136 (App.Div. 1974)). However, "[i]f a settlement agreement is achieved through
  coercion, deception, fraud, undue [*20] pressure, or unseemly conduct, or if one party was not
  competent to voluntarily consent thereto, the settlement agreement must be set aside." Peskin,
  supra, 271 N.J. Super. at 276 ; see also Nolan, supra, 120 N.J. at 472.

  [ Brundage v. Estate of Carambio, 195 N.J. 575, 600-601 (2008); emphasis added]

 Our public policy to enforce settlements absent fraud is particularly applicable where, as here, the
 settlement is entered into by parties, represented by experienced counsel, acting through their
 attorneys:

  Embedded in our jurisprudence is the principle that the settlement of litigation ranks high in our
  public policy. Judson v. Peoples Bank & Trust Co., 25 N.J. 17, 35 (1957), cited with approval in
  Jannarone v. W.T. Co., [supra, loc. cit] As the court said in Carlsen v. Carlsen, 49 N.J.Super. 130
  (App.Div. 1958),

     New Jersey public policy strongly favors settlements. See Judson v. Peoples Bank & Trust Co.,
 25 N.J. 17, 35 (1957) (holding that "it is the policy of law to encourage settlements); Honeywell v.
 Bubb, 130 N.J. Super. 130, 135 (App. Div. 1974) ("Embedded in our jurisprudence is the principle
 that the settlement of litigation ranks high in our public policy"); Jannarone v. W.T. Co., 65 N.J. Super.
 472, 476-477 (App. Div. 1961), certif. denied,35 N.J. 61 (1961). "Courts will, therefore, 'strain to give
 effect to the terms of a settlement wherever possible.'" Bistricer v. Bistricer, 231 N.J. Super. 143,
 147 (Ch. Div. 1987) (quoting Dep't of Pub. Advocate v. Bd. of Pub. Utils., 206 N.J. Super. 523, 528
 (App. Div. 1985). Finality is also significant to a court's interests in efficiency and conserving public
 resources. Cap City Prods. Co. v. Louriero, 332 N.J. Super. 499, 508 (App. Div. 2000).
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 "An agreement to settle a lawsuit is a contract which, like all contracts, may be freely entered into
 and which a court, absent a demonstration of 'fraud or other compelling circumstances,' should
 honor and enforce as it does other contracts." Pascarella v. Bruck, 190 N.J. Super. 118, 124-125 (App.
 Div. 1983), certif. denied, 94 N.J. 600 (1983);see also Nolan v. Lee Ho, 120 N.J. 465, 472 (1990);New
 Jersey Mfrs. v. O'Connell, 300 N.J. Super. 1, 7 (App. Div. 1997),certif. denied,151 N.J. 75 (1997). "A
 contract arises from offer and acceptance and must be sufficiently definite 'that the performance to
 be rendered by each party can be ascertained with reasonable certainty.'" Weichert Co. Realtors v.
 Ryan, 128 N.J. 427, 435 (1992) (citing West Caldwell v. Caldwell, 26 N.J. 9, 24-25 (1958)). If the parties
 agree on essential terms, and manifest an intention to be bound by those terms, Courts must
 enforce the contract. Id.

         In this matter the parties entered into a binding contract. Zelis did not agree to make its
 cooperation regarding discovery conditioned upon it withholding what it perceives are “trade
 secrets” or “sensitive information”. If Zelis had any such concerns it should have insisted at the time
 of execution of the agreement that language be inserted into the agreement reflecting same.

         To address the issue raised by Zelis counsel, Plaintiff has agreed to execute a Confidentiality
 Agreement and Protective Order. This offer has been rejected by counsel.

         The issue of the pricing of the claim by Plaintiff to the Union goes to the very heart of the
 matter. It is necessary for Plaintiff to question how Zelis priced Plaintiffs claim and therefore, based
 upon that pricing, agree to a settlement of $140,000 with Plaintiff.

                                                     POINT II

               THE COURT RULES REQUIRE THAT THE REQUESTED DISCOVERY BE PERMITTED

         Our courts apply a standard of substantial liberality in providing access to information,
 documents and materials, favoring litigants' rights to "broad pretrial discovery." Payton v. New
 Jersey Turnpike Authority, 148 N.J. 524, 535, 691 A.2d 321 (1996) (citing Jenkins v. Rainner 69 N.J.
 50, 56, 350 A.2d 473 (1976). In general, a party may obtain material which "appears reasonably
 calculated to lead to the discovery of admissible evidence" pertaining to the cause of action. In re
 Liquidation of Integrity Ins. Co., 165 N.J. 75, 82, 754 A.2d 1177 (2000). Our court rules afford litigants
 the right to "obtain discovery regarding any matter, not privileged, which is relevant to the subject
 matter involved in the pending action. . ." R. 4:10-2(a). While not explicitly defined by our court
 rules, "relevant evidence" is defined as "evidence having any tendency in reason to prove or
 disprove any fact of consequence to the determination of the action." N.J.R.E. 401. However, the
 relevancy of documents and materials is not predicated upon their admissibility at trial; instead it is
 founded upon whether the information sought is "reasonably calculated to lead to admissible
 evidence respecting the cause of action or its defense." Pressler & Verniero, Current New Jersey
Case 2:20-cv-01886-WJM-MF Document 24-3 Filed 08/04/20 Page 9 of 18 PageID: 272
 Rules Governing the Courts, comment 1 on R. 4:10-2(a) (2016). Thus, disclosure of inadmissible
 evidence is nonetheless required "if the information sought appears reasonably calculated to lead
 to the discovery of admissible evidence." R. 4:10-2(a). Information which bears even a remote
 relevance to the subject matter of a cause of action is discoverable, if it is reasonably likely to lead
 to discovery of admissible evidence.

         In this instance, the information being requested is both relevant and germane.

                                                    POINT III

          PLAINTIFFS OFFER OF A CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER IS AN
                           ADEQUATE REMEDY TO THE ZELIS OBJECTIONS

         As a matter of practice, it is now common in complex litigation for parties to agree to restrict
 the use of documents exchanged during discovery, and to enter a stipulated protective order to
 enforce that agreement. 6 MOORE'S FEDERAL PRACTICE § 26.104[2] (3d ed. 2007). See e.g.,
 Littlejohn v. BIC Corp., 851 F.2d 673, 676 (3d Cir. 1988) (parties agreed to, and the court ordered, a
 stipulated protective order restricting distribution of any information or documents designated
 confidential "solely for the purposes of preparing for trial of this action"). New Jersey courts
 recognize the propriety of such use restrictions during discovery and prior to the filing of substantive
 motions in a litigation, see, e.g., Estate of Frankl v. Goodyear Tire, 181 NJ. 1, 9-10 (2004), and
 stipulated protective orders including use restrictions are a regular part of practice in New Jersey
 state courts

         Here, the Plaintiffs offer for a Confidentiality Agreement and Protective Order is in full
 consonance with the state of the law in New Jersey.

                                                    POINT IV

                               Plaintiff is Entitled to Attorney’s Fees and Costs

         An award of counsel fees rests within the sound discretion of the trial court. Van Horn v.
 Van Horn, 415 N.J. Super. 398, 408, (App. 2010). The threshold for the use of the court's inherent
 power to sanction a party is high, but the court may exercise that power against a party who has
 "acted in bad faith, vexatiously, wantonly or for oppressive reasons." Chambers v. Nasco, 501 U.S.
 32, 45, 111 S. Ct. 2123, 115 L. Ed. 2d 27 (1991). The actions of Asani as outlined are without merit
 and without any basis in law or in fact and has risen to the standard necessary for the court to
 impose sanctions in the form of payment of attorney fees and costs.

                                                  CONCLUSION

         For the foregoing reasons, the relief sought by Plaintiffs should be granted.
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                                              ____________________

                                              Francis J DeVito Esq.
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    Attorney for Plaintiff, Thomas R. Peterson, M.D., P.C.
    I.D.#244461968
    -----------------------------------------------x SUPERIOR COURT OF NEW JERSEY
                                                     LAW DIVISION – BERGEN COUNTY
    THOMAS R. PETERSON, M.D., P.C.,                  DOCKET NO.: BER-L-518-18

            PLAINTIFF,

    V.                                                           CIVIL ACTION

    CIGNA HEALTH AND LIFE                              SUBPOENA DUCES TECUM
    INSURANCE d/b/a CIGNA HEALTH                       AD TESTIFICANDUM
    CARE, PHX, WINE LIQUOR AND                         OF JESSICA CONLAN C/O PHX
    DISTILLERY WORKERS LOCAL 1-D,
    MAJOR MEDICAL PLAN, MAGNA
    CARE, OLGA MENDOZA,
    NATIONAL LABOR BENEFITS,

            DEFENDANT(S).
    -----------------------------------------------x

    To:     Jessica Conlan
            c/o PHX


    MADAM:

            YOU ARE HEREBY COMMANDED to attend and give testimony before the
    above-named Court VIA Virtual on Monday, June 1, at 110:00 o'clock, A.M., on the part
    of the Plaintiff, Thomas R. Peterson, M.D. in the above entitled action.
            YOU ARE FURTHER HEREBY COMMANDED to bring with you and
    produce at the same time and place the documents described in Schedule “A” attached to
    this Subpoena Duces Tecum Ad Testificandum.
            The materials, which you are hereby commanded to produce, shall not be produced
    or released until the date specified herein. If you are notified that a motion to quash this
    Subpoena has been filed, you shall not produce or release the within Subpoenaed materials
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    until ordered to do so by the Court or you are notified that the release is consented to by all
    parties.
               Failure to appear according to the command of this Subpoena will subject you to a
    penalty, damages in a Civil Suit, and punishment for contempt of Court.




    Dated: May 5, 2020




                                                    FRANCIS J. DEVITO, P.A.
                                                    Attorneys for Plaintiff

                                                    By:_ Francis J. DeVito____________
                                                          Francis J. DeVito


                                        PROOF OF SERVICE


               On                     , 2020, I, the undersigned, being over the age of 18, served
    the within Subpoena by delivering a copy thereof to the person named therein, at              ,
    and by tendering to such person the attendance fee of $              and mileage of $         ,
    as allowed by law.
               I hereby certify that the foregoing statements made by me are true. I am aware that
    if any of the foregoing statements made by me are willfully false, I am subject to
    punishment.




    Dated:
Case 2:20-cv-01886-WJM-MF Document 24-3 Filed 08/04/20 Page 16 of 18 PageID: 279




                                        SCHEDULE A

       1. Any and all communications, including emails, correspondence, text messages that
          in any way relate to the subject of the complaint.

       2. Any and all communications between PHX and any party to the litigation, including
          but not limited to PHX, Wine Liquor and Distillery Workers Local, Cigna Health
          and Life Insurance, MagnaCare and National Labor Benefits, including emails,
          correspondence, text messages that in any way relate to the subject of the complaint.

       3. Any pricing or repricing reports performed by PHX and/or Cigna regarding Olga
          Mendoza.

       4. A copy of any Contract between PHX, Cigna and Wine.

       5. Any writings or reports, either electronic or manual that references any facet of the
          surgery or payment.

        6. A copy of the manual and/or standard used to re-price the surgery payment.

       7. Any and all communications, including emails, correspondence, text messages
          that in any way relate to the subject of the complaint between PHX, Cigna, Wine
          and MagnaCare.
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